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2                                                                             FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON


3
                                                                     Sep 18, 2020
4
                                                                         SEAN F. MCAVOY, CLERK




5                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
6

7     UNITED STATES OF AMERICA,
                                                  NO: 1:19-CV-3237-RMP
8                               Plaintiff,
                                                  ORDER GRANTING UNITED
9           v.                                    STATES’ MOTION FOR DEFAULT
                                                  JUDGMENT AND FINAL ORDER
10    $8,170.00 U.S. CURRENCY,                    OF FORFEITURE

11                              Defendant.

12

13         BEFORE THE COURT is Plaintiff’s Motion for Default Judgment and Final

14   Order of Forfeiture. ECF No. 28.

15         Plaintiff alleged in a Verified Complaint for Forfeiture In Rem that the

16   Defendant property captioned above is subject to forfeiture to the United States

17   pursuant to 21 U.S.C. §§ 841. ECF No. 1. Having considered the motion and the

18   remaining record, the Court grants the motion and issues a final order of forfeiture

19   regarding the subject property.

20         The Court has jurisdiction over this matter under 28 U.S.C. § 1355, and

21   venue is proper under the same statute.


     ORDER GRANTING MOTION FOR DEFAULT JUDGMENT
     AND FINAL FORFEITURE ~ 1
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1          The Defendant property being sought for forfeiture is described as follows:

2           $8,170.00 U.S. currency, seized by the United States Postal Inspection
           Service on May 20, 2019, pursuant to the execution of a Federal Search
3          and Seizure Warrant.

4          On October 16, 2019, the United States Marshals Service executed and

5    returned the Warrant of Arrest In Rem. On October 30, 2019, the United States

6    filed the executed Warrant of Arrest In Rem with the Court. ECF No. 5.

7          In accordance with Fed. R. Civ. P. Rule G(4)(a)(iv)(C), Supplemental Rules

8    for Admiralty or Maritime Claims and Asset Forfeiture Actions, notice of civil

9    forfeiture was posted on an official government website, www.forfeiture.gov,

10   beginning October 5, 2019, and ending November 3, 2019. ECF No. 7. In

11   accordance with Fed. R. Civ. P. Rule G(4)(b), all known and potential claimants

12   were provided notice of this civil forfeiture action. ECF No. 6. Based upon the

13   internet publication start date of October 5, 2019, the last day to file a timely claim,

14   if direct notice was not received, was December 4, 2019. Fed. R. Civ. P. Rule

15   G(5)(B). To date, no claims have been received or filed pursuant to the internet

16   posting.

17         On February 28, 2020, Clerk’s Orders of Default were entered against David

18   Anthony, Devon Austin, Gerald Lewis, Anna Kohler and Cory Murphy. ECF Nos.

19   15–19.

20         On March 26, 2020, a Clerk’s Order of Default was entered against

21   Maliktica Austin. ECF No. 22.


     ORDER GRANTING MOTION FOR DEFAULT JUDGMENT
     AND FINAL FORFEITURE ~ 2
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1           On May 19, 2020, Clerk’s Orders of Default were entered against Phyllis

2    Murphy and PJ Murphy. ECF Nos. 26 and 27.

3          No other claims, timely or otherwise, have been received or filed with the

4    Court, and the deadline for filing claims has passed.

5          Accordingly, IT IS HEREBY ORDERED:

6          1. Plaintiff’s Motion for Default Judgment and Final Order of Forfeiture,

7             ECF No. 28, is GRANTED. The Defendant property is hereby forfeited

8             to the United States of America and no right, title, or interest shall exist

9             in any other person or entity.

10         2. Default judgments are entered against the interests of Maliktica Austin,

11            David Anthony, Devon Austin, Gerald Lewis, Anna Kohler, Cory

12            Murphy, Phyllis Murphy, and PJ Murphy.

13         IT IS FURTHER ORDERED that the United States Marshals Service shall

14   dispose of the forfeited property described herein in accordance with law.

15         IT IS FURTHER ORDERED that the United States District Court shall

16   retain jurisdiction in the case for the purpose of enforcing or amending this Order.

17         The District Court Clerk is directed to enter this Order, enter judgment as

18   directed, provide copies to counsel, and close this case.

19         DATED September 18, 2020.

20                                                s/ Rosanna Malouf Peterson
                                               ROSANNA MALOUF PETERSON
21                                                United States District Judge


     ORDER GRANTING MOTION FOR DEFAULT JUDGMENT
     AND FINAL FORFEITURE ~ 3
